               Case 3:21-cr-00155-JD Document 140 Filed 11/09/22 Page 1 of 2




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13                                   UNITED STATES DISTRICT COURT

14                                  NORTHERN DISTRICT OF CALIFORNIA

15                                      SAN FRANCISCO DIVISION

16   UNITED STATES OF AMERICA,                           Criminal No. 3:21-CR-00155-JD

17           Plaintiff,                                  PARTIES JOINT STATEMENT TO
                                                         THE COURT REGARDING THE
18                                                       OCTOBER 20, 2022 HEARING TRANSCRIPT
                             v.                          AND ECF 110 AND 112
19
     CARLOS E. KEPKE,                                    Hearing.:           November 21, 2022
20                                                       Time:               1:30 a.m.
             Defendant.                                  Place:              Courtroom 11, 19th Floor
21

22

23                  The parties jointly recommend to the Court that regarding the October 20, 2022 hearing

24 transcript, ECF 110, that the transcript of the October 20, 2022 hearing should by unsealed EXCEPT,

25 the United States recommends that the portions of the hearing pertaining to Defendant’s Motion for a

26 CIPA hearing (ECF 86) should remain sealed. Defendant does not join in this recommendation, and

27 instead recommends that only the portion of the transcript of the October 20, 2022 hearing pertaining to

28 the discussions with the Court regarding the payment of Defendant’s legal fees should remain sealed.

     PARTIES JOINT STATEMENT TO                      1
     THE COURT RE ECF 110 AND 112
     Case No.: 3:21-CR-00155-JD
                 Case 3:21-cr-00155-JD Document 140 Filed 11/09/22 Page 2 of 2




 1 The United States does not join in that recommendation.

 2                  With regarding to ECF 112, the United States recommends that the entirety of that Order

 3 remain sealed. The Defense does not join in that recommendation.

 4                  Unfortunately, the United States does not yet have a copy of the sealed portions of the

 5 transcript from the October 20, 2022 hearing and cannot cite page and line of the relevant portions of the

 6 transcript.

 7                  Counsel for the government represents to the Court that I have conferred with counsel for

 8 the Defendant on this Notice and that it represents both parties’ recommendations.

 9

10 Date: November 9, 2022

11                                                               STEPHANIE M. HINDS
                                                                 United States Attorney
12

13                                                               s/ Corey J. Smith
                                                                 COREY J. SMITH
14                                                               Senior Litigation Counsel
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15                                                               MICHAEL G. PITMAN
                                                                 Assistant United States Attorney
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                                                                 BORIS BOURGET
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18                                                               Attorneys for United States of America
19           _      ____
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     PARTIES JOINT STATEMENT TO                      2
     THE COURT RE ECF 110 AND 112
     Case No.: 3:21-CR-00155-JD
